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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

____________________________________
Kurdistan Victims Fund, et al.,       )
                                      )
            Plaintiffs,               )
                                      )
      v.                              )
                                      )       Civil Action No. 1:24-cv-00278-RDM
                                      )       Judge Randolph Moss
Kurdistan Regional Government, et al, )
                                      )
            Defendants.               )
____________________________________)



       DEFENDANT TREEFA AZIZ’S OPPOSITION TO PLAINTIFFS’
        MOTION FOR LEAVE TO EFFECT ALTERNATIVE SERVICE




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                                  INTRODUCTION

      In the eight months since filing their lawsuit, Plaintiffs have failed to serve all

but a handful of the 63 defendants named in their Amended Complaint. As both their

Status Report (Dkt. 49) and Motion for Leave to Effect Alternative Service

(Dkt. 50, the “Motion”) make clear, Plaintiffs have not undertaken any effort to serve

any foreign defendant in accordance with applicable service rules. Instead, feigning

confusion over whether the Kurdistan Regional Government (KRG) is a government,

they seek to shift their burden to the defendants and this Court. But both the Motion

and Amended Complaint recognize that the KRG “is a political subdivision of the

Republic of Iraq,” meaning that it “must be served as prescribed in 28 U.S.C.

§ 1608(a).” (Dkt. 20 at 390 (Am. Compl. ¶ 820); Dkt. 50 at 1). That provision, part of

the Foreign Sovereign Immunities Act (FSIA), extends to all defendants—the KRG,

its Prime Minister, and others sued in their official capacities or for whom the KRG

is the real party in interest. And the D.C. Circuit requires “strict adherence” to the

FSIA’s terms because the FSIA reflects Congress’s judgment regarding the treatment

of foreign states. Transaero, Inc. v. La Fuerza Aerea Boliviana, 30 F.3d 148, 154 (D.C.

Cir. 1994). Even if the Court had discretion to grant the relief requested, Plaintiffs’

efforts to force Ms. Treefa Aziz and her lawyers to effect service for them are deficient.

The Motion should be denied.

                                   BACKGROUND

      Plaintiffs filed this suit in January and persist in refusing to comply with the

service rules. The Status Report is an insult. Setting aside Plaintiffs’ whole-cloth
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conspiracy theories (see, e.g., Dkt. 49 at 3 (Stat. Rpt. ¶ 6) (“a dangerous secret KRG

prison”)), the most recent service it reports occurred on July 10, 2024—nearly two

months before they filed their Status Report. (Id. at 5 (Stat. Rpt. ¶ 13)). Plaintiffs

do not report a single concrete step they have taken toward effecting service since

then. Although they claim to have read the Court’s handbook for serving foreign

defendants, they noticeably do not state that they have done what it says. They do

not, for example, identify any foreign defendants whom Plaintiffs attempted to serve,

or say when and by what means they made the attempt, or even whether they have

prepared the required translation of their Amended Complaint into one of Iraq’s

official languages. See 28 U.S.C. § 1608(a)(3). Plaintiffs are not shy about including

detail when it suits them; had they done any of these things, the Court should expect

to read all about it in the Status Report.

      Their “update” on service in Iraqi Kurdistan consists instead of a few generic

paragraphs noting that Iraq is not party to the Hague Convention, and that the KRG

has not joined the Universal Postal Convention. (Dkt. 49 at 1–2 (Stat. Rpt. ¶ 2)).

None of that matters. The very provision Plaintiffs identify on the first page of the

Motion sets forth a method of service in foreign jurisdictions that are not party to an

international agreement. 28 U.S.C. § 1608(a)(3). Their “update” is therefore neither

news nor relevant.

      Of the 63 defendants named in the Amended Complaint, Plaintiffs list nine

defendants they claim to have served or who have waived service (one of whom,

Afan/Arfan Saleh Omar Sherwani, appears twice) and two more they are trying to



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serve domestically. (Dkt. 49 at 5–6 (Stat. Rpt. ¶ 13)). Eight months in, Plaintiffs

express confidence that all domestic defendants will someday be served.

(Id. at 6 (Stat. Rpt. ¶ 14)).

       Plaintiffs’ motion seeks alternative service as to 51 defendants, one of whom

(Afan Saleh Omar Sherwani) also appears on their list of the nine served defendants.

(Id. at 5 (Stat. Rpt. ¶ 13); Dkt. 50 at 20–21). Plaintiffs propose that Ms. Aziz or her

lawyers transmit the complaint to 40 of these defendants and that the Court

authorize service by publication for the balance.      As detailed below, the FSIA

forecloses this proposal.

       The Status Report and Motion leave four defendants entirely unaddressed.

Two are domestic: Hayman Quassi and Hamza Salim, both alleged to be in

“Washington, D.C.” (Dkt. 20 at 4 (Am. Compl. at 4)). The final two, the improbably

named “U.S. Public Official #1” and “U.S. Public Official #2,” supposedly reside in

Kurdistan, although Plaintiffs’ failure to account for them calls into doubt whether

even Plaintiffs believe they exist. (Id. at 38 (Am. Compl. ¶¶ 101–02)).1




1 Instead of trying to serve the complaint, Plaintiffs have spent considerable effort

trafficking their salacious allegations through social media and other media outlets,
underscoring this lawsuit is little more than a political charade in the lead-up to
Kurdistan’s upcoming October election. See, e.g., Amedi, Maki Revend. “‫مهکی رەڤهند‬
‫ئام دی‬    Maki      Revend       Amedi.”     Facebook,     www.facebook.com/profile.
php?id=61555317803806 (republishing almost weekly “reports” about Plaintiffs’
lawsuit).
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                                    ARGUMENT

 I.   Plaintiffs Must Strictly Comply with the Foreign Sovereign
      Immunities Act.

      The Court should reject Plaintiffs’ request that the Court reassign their job to

Ms. Aziz. (Dkt. 49 at 6–7 (Stat. Rpt. ¶ 14); Dkt. 50 at 21–23). Service on the foreign

defendants in this case is governed by the Foreign Sovereign Immunities Act (FSIA),

which codifies mandatory procedures for service of foreign governments and their

political subdivisions, 18 U.S.C. § 1608(a), and a separate set of rules for service on

the agencies and instrumentalities of foreign states, id. § 1608(b). For the reasons

explained below, service here is wholly governed by Section 1608(a).

      Section 1608(a) prescribes “four hierarchical methods of service, which are to

be followed in descending order,” such that “a plaintiff ‘must attempt service by the

first method (or determine that it is unavailable) before proceeding to the second

method, and so on.’” De Souza v. Embassy of Angola, 229 F. Supp. 3d 23, 26 (D.D.C.

2017) (quoting Angellino v. Royal Family Al-Saud, 688 F.3d 771, 773 (D.C. Cir.

2012)). “[A] plaintiff ‘may not opt to serve a foreign defendant out of order, i.e., by

pursuing a less preferred method first, in contravention of the express language of

the statute.’” Przewozman v. Islamic Republic of Iran, 628 F. Supp. 3d 307, 313 (D.D.

C. 2022) (Moss, J.) (quoting Azadeh v. Gov’t of the Islamic Rep. of Iran, 318 F. Supp.

3d 90, 100 (D.D.C. 2018)). As the D.C. Circuit has made clear, “strict adherence to the

terms of § 1608(a) is required” and “’neither substantial compliance, nor actual notice’

suffices.” Id. at 314 (quoting Transaero, 30 F.3d at 154; Barot v. Embassy of the

Republic of Zambia, 785 F.3d 26, 27 (D.C. Cir. 2015)).


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      “The FSIA’s procedural requirements regarding notice and venue serve

Congress’s stated goals of promoting comity with other sovereigns and ensuring the

United States’ consistency of approach with respect to federal courts’ interactions

with foreign sovereigns.” Mobil Cerro Negro, Ltd. v. Bolivarian Republic of Venezuela,

863 F.3d 96, 100 (2d Cir. 2017) (dismissing for failure to comply with FSIA service

requirements). Thus, far from being an “‘empty formality,’ in ‘cases with sensitive

diplomatic implications,’ such as FSIA suits, ‘the rule of law demands adherence to

strict requirements even when the equities of a particular case may seem to point in

the opposite direction.’” Przewozman, 628 F. Supp. 3d at 314 (quoting Republic of

Sudan v. Harrison, 587 U.S. 1, 19 (2019)).

      The rules in Section 1608(a) apply to all foreign defendants in this case.

Starting with the KRG, there can be no serious dispute that it is either a foreign

government or a political subdivision of Iraq. Plaintiffs have conceded as much in a

dozen ways. The first page of the Motion states: “Plaintiffs acknowledge Defendant

Kurdistan Regional Government is a political subdivision of the Republic of Iraq.”

(Dkt. 50 at 1). Just a few pages later, Plaintiffs say: “Because the KRG is itself, in

some government registrations, a ‘governmental’ entity, it is properly ‘considered the

foreign state itself,’ and not merely an ‘instrumentality of the foreign state.’” (Id. at

7 (quoting Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48, 76 n.12 (D.D.C.

2018))).   These concessions are bolstered by numerous others in the Amended

Complaint. Plaintiffs allege that the United States provides direct aid to the KRG.

(Dkt. 20 at 365 (Am. Compl. ¶ 756)). They reference Ms. Aziz’s role in the direct



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diplomatic relationship between the KRG and the Unites States.               (Id. at 30

(Am. Compl. ¶ 57)); see also Anthony J. Blinken, Remarks (Feb. 27, 2024) available

at https://www.state.gov/secretary-antony-j-blinken-and-kurdistan-regional-govern

ment-prime-minister-masrour-barzani-before-their-meeting/ (noting America’s long

diplomatic relationship and coordinated military operations with the KRG).

Plaintiffs also recognize that under Iraq’s “constitutional arrangement, the federal

state discharges minimal to no practical governmental function; nor does the federal

state exercise control over the Defendant Iraqi Kurdistan Regional Government’s

operations.” (Dkt. 20 at 50 (Am. Compl. ¶ 124)). The KRG’s officials do not report to

officials in Iraq.    (Id.).   And the KRG maintains an independent military.

(Id. at 109–10 (Am. Compl. ¶ 219)). Given KRG’s distinctly governmental qualities,

it is no surprise that the single court to consider the question has held that “Kurdistan

is a political subdivision of Iraq.” Ministry of Oil of Republic of Iraq v. 1,032,212

Barrels of Crude Oil Aboard United Kalavrvta, No. CV G-14-249, 2015 WL 93900,

at *12 (S.D. Tex. Jan. 7, 2015).

      The only other conceivable alternative—which Plaintiffs do not even allege—is

that the KRG is an “instrumentality” subject to service under § 1608(b). The D.C.

Circuit has explained the difference between a state and an instrumentality thus: “if

the core functions of the entity are governmental, it is considered the foreign state

itself; if commercial, the entity is an agency or instrumentality of the foreign state.”

Roeder v. Islamic Republic of Iran, 333 F.3d 228, 234 (D.C. Cir. 2003). The KRG’s




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functions are so plainly governmental (not commercial)—both in reality and as

alleged in the Amended Complaint—that § 1608(a) controls.

      In seeking to avoid the requirements of Section 1608(a), Plaintiffs feign

confusion as to whether the KRG is a government protected by the FSIA or a

corporation that is not.     This argument is frivolous.       Beyond their repeated

concessions to the contrary, Plaintiffs’ “corporation” argument mainly rests on

irrelevant facts about the KRG’s office in Washington, DC. For example, the KRG’s

Washington office registered with the Department of Justice under the Foreign

Agents Registration Act (“FARA”) and checked several boxes indicating its connection

to the foreign principal—“supervised,” “owned,” “directed,” “controlled,” “financed,”

and “subsidized.” (Dkt. 50 at 12; id. at 14 (noting same disclosure in a newsletter)).

Nothing about that is inconsistent with the KRG being a foreign government or

political subdivision. Just the opposite. Elsewhere, Plaintiffs point out that the

KRG’s Washington office lists three “beneficial owners” in its corporate registration

with the District of Columbia. (Id. at 13). Here, again, the entity in question is not

the KRG but a corporation it established to lease an office, hire staff, and conduct

business in the United States. But having a corporation in the District of Columbia

says nothing about the KRG itself. The same is true for registration under Section

501(c)(4) of the Internal Revenue Code, which, contrary to Plaintiffs’ suggestions, (id.

at 14), is precisely the section governing “social welfare” organizations that advocate

on public policy issues, subject to various restrictions around electioneering. Finally,

the KRG has never represented itself to be a political party, (id. at 15), as the



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Amended Complaint recognized in distinguishing the KRG from the “complementary

parallel Kurdistan Democratic Party (KDP), led by the Barzani family since its

establishment in 1946,” (Dkt. 20 at 108 (Am. Compl. ¶ 216); see also id. at 65 (Am.

Compl. ¶ 170) (noting the KDP’s separate office in Fairfax, Virginia)). Ultimately,

each of Plaintiffs’ pretexts for requiring assistance with service is paper-thin. For

most of them, the Amended Complaint itself pierces the veil of feigned confusion.

      Plaintiffs’ claims of confusion are a pretext for asking the Court to do their job.

Rather than even attempt service as prescribed in Section 1608(a), Plaintiffs pretend

that the Court’s involvement is necessary to (a) give them the answer on how to serve

the KRG (see, e.g., Dkt. 50 at 10) and a host of individuals and (b) ultimately shift

their obligation to Ms. Aziz. But it is not the Court’s job to “devise some method of

service” for Plaintiffs. Freedom Watch, Inc. v. OPEC, 107 F. Supp. 3d 134, 136 n.4

(D.D.C. 2015). It is the Plaintiffs who are “responsible for having the summons and

complaint served.” Fed. R. Civ. P. 4(c). Here, the procedures for service on the KRG

are clearly spelled out in the FSIA, and Plaintiffs must strictly comply with them.

      Just as the KRG must be served in accordance with Section 1608(a), so too

must the individual defendants. Although the FSIA does not generally extend to

individual defendants, the Supreme Court has explained, “some actions against an

official in his official capacity should be treated as actions against the foreign state

itself, as the state is the real party in interest.” Samantar v. Yousuf, 560 U.S. 305,

322 (2010). And this Court and the D.C. Circuit have so ruled in suits against

individual defendants which were deemed actions against the foreign state. See, e.g.,



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Odhiambo v. Republic of Kenya, 930 F. Supp. 2d 17, 34–35 (D.D.C. 2013), aff’d 764

F.3d 31 (D.C. Cir. 2014); Mohammadi v. Islamic Republic of Iran, 947 F. Supp. 2d 48,

72 (D.D.C. 2013), aff'd, 782 F.3d 9 (D.C. Cir. 2015). Whenever the state is the real

party in interest, the service rules of Section 1608(a) apply. See Strange v. Islamic

Republic of Iran, No. CV 14-435 (CKK), 2016 WL 10770678, at *5, *7 (D.D.C. May 6,

2016).

         The allegations against the KRG defendants, including Ms. Aziz, concern

actions taken in their official capacities or for which the KRG is the real party in

interest. The Amended Complaint expressly refers to them as “agents or officials of

subdivisions of a foreign government,” (Dkt. 20 at 98, 303 (Am. Compl. ¶¶ 195, 635)),

as does the instant Motion, (Dkt. 50 at 20). Indeed, the Motion expressly asserts that

the KRG is an “alter-ego” for the alleged “Criminal Enterprise” among the

defendants. (Id. at 7). The Amended Complaint contests the manner in which Prime

Minister Barzani and other officials conduct military operations, (Dkt. 20 at 157 (Am.

Compl. ¶ 318)), and administer the courts, (id. at 194 (Am. Compl. ¶ 412)). None of

those are activities undertaken in a personal capacity. Plaintiffs even advance a

claim under the Torture Victims Protection Act, which requires Defendants to be

acting in their official capacities. (Dkt. 20 at 184, 391–95 (Am. Compl. ¶¶ 382, 821–

31)); see 28 U.S.C. § 1350 (note) (creating a cause of action against an individual “who,

under actual or apparent authority, or color of law, of any foreign nation” commits

certain acts). Because the KRG is the real party in interest, the FSIA’s requirements

apply to the individual defendants as well, including Ms. Aziz. See, e.g., Buzz Photos



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v. People’s Republic of China, No. 3:20-CV-656-K-BN, 2020 WL 6889016, at *7 (N.D.

Tex. Nov. 24, 2020) (denying Plaintiffs’ motion for alternative service, finding that

individual defendant employees of a Chinese laboratory must be served under Section

1608(a) because “the claims against the individual defendants should be treated as

claims against [China] itself”).

      Plaintiffs recognize that strict adherence to Section 1608(a) is required

(Dkt. 50 at 8), but they nonetheless seek an exception to the rules under Federal Rule

of Civil Procedure 4(f)(3), which generally permits the court to order alternative

service for individuals in foreign countries. See Fed. R. Civ. P. 4(f)(3). But Rule 4(f)

applies “[u]nless federal law provides otherwise.” And here, the FSIA is a mandatory

federal statute requiring service through prescribed means. The Court therefore

lacks authority to order alternative service. There is no doubt that it would make

Plaintiffs’ task cheaper and faster if they could dispense with translating their

behemoth complaint and serving it through diplomatic channels.               But strict

adherence means that no exceptions are allowed. Plaintiffs must follow the rules,

and the Motion must be denied.

II.   Plaintiffs’ Proposed Alternative Service Is Improper.

      To reiterate, the FSIA forecloses alternative service.      But even assuming

arguendo that the FSIA does not apply to some individuals and that alternative

service is at least possible, the motion requires dismissal.      “[W]hether to allow

alternative methods of serving process under Rule 4(f)(3) is committed to the sound

discretion of the district court.” Freedom Watch, Inc. v. OPEC, 766 F.3d 74, 81 (D.C.

Cir. 2014) (quoting Brockmeyer v. May, 383 F.3d 798, 805 (9th Cir. 2004)). Plaintiffs
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have a two-part proposal to ease the service process they have yet to attempt: (1)

require Ms. Aziz or lawyers at Greenberg Traurig LLP (“Greenberg”) to find

addresses for and then transmit the untranslated complaint to most defendants, and

(2) publish a link to a website containing the complaint in an Iraqi newspaper to serve

the remaining 11 individuals. This unwieldy proposal falls so far short of minimum

standards of due process as to require that Plaintiffs’ motion be denied.

       First, Plaintiffs have made no meaningful effort to serve foreign individuals

through the default procedures set forth under Rule 4(f). Like the FSIA, Rule 4(f)

begins with provisions for service according to the Hague Convention or other

international agreements. Fed. R. Civ. P. 4(f)(1). Absent such an agreement, it

prescribes service according to the foreign state’s domestic laws, expressed either

through ordinary service procedures, Fed. R. Civ. P. 4(f)(2)(A), or as expressed by the

foreign government in response to a written request, Fed. R. Civ. P. 4(f)(2)(B).

Alternatively, and relevant here, service may be achieved by “(i) delivering a copy of

the summons and of the complaint to the individual personally; or (ii) using any form

of mail that the clerk addresses and sends to the individual and that requires a signed

receipt.” Fed. R. Civ. P. 4(f)(2)(C).

       “Here, unlike in other cases where service on a foreign defendant’s United

States counsel has been ordered under Rule 4(f)(3), there is no evidence that the

[Plaintiffs] ha[ve] made any attempt at service in a manner that complies with Rule

4(f)” before moving for alternative service. Stallard v. Goldman Sachs Grp., No.

20-2703 (RBW), 2022 WL 59395, at *8 (D.D.C. Jan. 6, 2022). A simple Google search



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reveals several process servers that operate in Iraq, including in Kurdistan.

Plaintiffs have not even attempted to comply with these options before declaring that

doing so is too hard. That is not enough to warrant a departure from the Rules.

Notably, the manual Plaintiffs claim to have reviewed includes step-by-step

instructions for effecting service overseas. (Dkt. 49 at 1 (Stat. Rpt. ¶ 1)). While

focusing on general facts like participation in the Hague Convention or the Universal

Postal Convention, (id. at 1–2 (Stat. Rpt. ¶ 2)), Plaintiffs’ Status Report nowhere

avers any attempt to send even one summons as the manual prescribes.

      Even their generic statements about the KRG’s postal system do not address

all of the defendants for whom Plaintiffs request alternative service.        Laaween

Pedawi, for example, lives in Dubai. (Dkt. 20 at 28 (Am. Compl. ¶ 49)). Ahmad Kurdu

Nori lives in Germany. (Id. at 253 (Am. Compl. ¶ 526)). And at least three defendants

for whom Plaintiffs assert that service is impossible are persons Plaintiffs previously

claimed had already been served: Ms. Aziz, Hikmat Bamarni, and Afan Saleh Omar

Sherwani. (Dkt. 28 at 1). As with the failure to effect service under the FSIA,

Plaintiffs’ disregard for the requirements of Rule 4(f) is a combination of laziness and

imprecision, which hardly justifies alternative service under Rule 4(f)(3).

      Second, Plaintiffs’ proposal would put Ms. Aziz or her lawyers in the position

of trying to locate the same individuals Plaintiffs profess to be unfindable. Contrary

to Plaintiffs’ assertions (see Dkt. 50 at 21), whether Ms. Aziz or Greenberg is

registered under FARA is irrelevant to the question of service.          Plaintiffs are

confusing a registered agent for service of process, with a registered agent under



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FARA, a federal statute that requires persons undertaking certain specified activities

on behalf of “foreign principals . . . to make periodic public disclosure of their

relationship with the foreign principal.” U.S. Department of Justice, Foreign Agents

Registration Act, https://www.justice.gov/nsd-fara. Nothing in FARA authorizes

serving process on a foreign principal through a FARA-registered agent. The same

is true for an attorney-client relationship. The fact that an attorney has represented

a client in one matter does not make the attorney an agent for accepting service of

process. Stallard, 2022 WL 59395 at *5 (quoting Schwarz v. Thomas, 222 F.2d 305,

308 (D.C. Cir. 1955) (“[A]ny agent who accepts service must be shown to have been

authorized to bind his [or her] principal by the acceptance of process.” (Alterations in

original))).

       In addition, there is no non-conclusory allegation that Ms. Aziz or anyone at

Greenberg knows or has any connection to any of the defendants in the Amended

Complaint. Indeed, Ms. Aziz herself barely appears in the complaint; Greenberg

never appears, except in connection with Plaintiffs’ unconscionable claims against

Joe Reeder as opposing counsel. Furthermore, neither Ms. Aziz nor her lawyers have

any addresses for most of those individuals whom Plaintiffs want “served” on their

behalf. They therefore have no way of accomplishing what Plaintiffs demand.

       Third, Plaintiffs’ proposal is improper because it contemplates serving

defendants in Iraqi Kurdistan with an English language complaint. 2 Recognizing the



2 Although most defendants allegedly reside in Iraqi Kurdistan, one resides in
Germany and the whereabouts of a number of others are not stated. (See, e.g., Dkt.
20 at 32, 36–38 (Am. Compl. ¶¶ 65, 87, 94, 95, 100)).
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sensitivities inherent in serving foreign governments, Congress directed in the FSIA

that a complaint must be translated in the official language of the foreign state. See

28 U.S.C. § 1608(a)(3), (4). Although Rule 4(f)(3) does not contain a parallel provision,

basic fairness requires that the complaint be professionally translated into the native

languages of the defendants before service. The 400-page complaint is not an easy

read even to native English speakers trained in the law. The single paragraph with

a substantive allegation against Ms. Aziz, for example, contains a 371-word, two-page

sentence that would test any English speaker’s comprehension. (Dkt. 20 at 65–67

(Am. Compl. ¶ 170)).      The Amended Complaint would be unreadable for lay

defendants for whom English is not their first language.

      Fourth, Plaintiffs do not meet the high bar for service by publication. 3     The

Supreme Court has approved publication “where it is not reasonably possible or

practicable to give more adequate warning.” Mullane v. Central Hanover Bank & Tr.

Co., 339 U.S. 306, 317 (1950). The D.C. Circuit upheld such service for Osama bin

Laden, whose “address,” the court noted, “is not known, nor is it easily ascertainable.”

Mwani v. Bin Laden, 417 F. 3d 1, 8 (D.C. Cir. 2005). Even then, the notice was placed

in a newspaper that the defendant himself had published in, making it reasonable to

conclude he might receive notice of the lawsuit. Id.

      There is no basis for service by publication here. Plaintiffs do not allege that

the defendants in this case are in hiding. They simply assume a right to serve these



3
  Ms. Aziz has no responsibility for the 11 individuals whom Plaintiffs seek to serve
by placing an advertisement in an Iraqi newspaper. Moreover, she disputes the
legality of such “service.”
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11 defendants by publication and go on to describe their plans for publication.

(Dkt. 50 at 28–29). Not only does their pleading lack justification for the attenuated

service by publication, but the newspaper in which they propose to run their

advertisement is an Iraqi, as opposed to Kurdish, newspaper, based in Baghdad. (Id.

at 28). They provide no indication that such advertisement would ever reach the

intended parties. Service by publication is not designed to facilitate dragnet

complaints like this one. Plaintiffs’ request should be denied.

      Plaintiffs’ proposed methods of service, in short, fall far short of the minimum

“traditional notions of fair play and substantial justice.” International Shoe Co. v.

Washington, 326 U.S. 310, 316 (1945) (quotation omitted). To the contrary, they are

recipes for woeful due process violations. and motions to dismiss for ineffective service

under Rule 12(b)(5). That is particularly true where, as here, neither the Defendants

nor even the Court is aware of the identities of the purported “5000” John Doe

plaintiffs (assuming they even exist) seeking alternative service.         Thus, even if

alternative service under Rule 4(f) were permissible (and it is not), Plaintiffs’ proposal

should be denied.

                                    CONCLUSION

      Plaintiffs do not identify any concrete steps they have taken to discharge their

service obligations since July 10, 2024. Indeed, other than filing a groundless suit

against opposing counsel, Plaintiffs have done next to nothing to serve any of the

foreign defendants. Yet they burden this Court and Ms. Aziz with a motion asking

that the form of service congressionally mandated in the FSIA be ignored. Their basis

for doing so—feigned uncertainty over whether the KRG is the government that the
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Amended Complaint and subsequent submissions recognize it is—falls so far short of

plausibility that sanctions are in order. The Court should deny Plaintiff’s Motion,

award Ms. Aziz the costs of preparing this Opposition, and set a deadline of 60 days

in which Plaintiffs either serve defendants in accordance with the applicable rules or

dismiss them with prejudice.




Dated: September 17, 2024                Respectfully submitted,

                                         /s/ Dominic E. Draye
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                          CERTIFICATE OF SERVICE



      I HEREBY CERTIFY that on September 17, 2024, I caused a true and

accurate copy of the foregoing to be served via ECF.



                                             /s/ Dominic E. Draye
                                             Dominic E. Draye
